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 1   BENJAMIN B. WAGNER
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 2   TODD D. LERAS
     Assistant U.S. Attorney
 3   501 I Street, Suite 10-100
     Sacramento, California 95814
 4   Telephone: (916) 554-2918
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 7
 8              IN THE UNITED STATES DISTRICT COURT FOR THE
 9                      EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,         )
                                       ) Case No. 2:10-cr-00347-MCE
12             Plaintiff,              )
                                       ) STIPULATION AND
13                                     ) ORDER CONTINUING STATUS
          v.                           ) CONFERENCE
14                                     )
     LEONARD WOODFORK, NAVPREET        )
15   SINGH, LOVEDEEP SIDHU,            )
     NAVJOT SINGH, JASON               )
16   CAVILEER, DISHAN PERERA,          )
     and RAMIRO GARCIA,                )
17                                     )
               Defendants.             )
18                                     )
19
20        IT IS HEREBY STIPULATED by and between Plaintiff United
21   States of America, by and through Assistant United States
22   Attorney Todd D. Leras, and Attorney Olaf Hedberg on behalf of
23   Leonard Woodfork, Attorney John Virga on behalf of Navpreet
24   Singh, Christopher Haydn-Myer on behalf of Lovedeep Sidhu, Mark
25   Reichel on behalf of Navjot Singh, Dan Koukol on behalf of Jason
26   Cavileer, Dwight Samuel on behalf of Dishan Perera, and
27   Christopher Cosca on behalf of Ramiro Garcia, that the status
28   conference scheduled for January 31, 2013, be continued to March

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 1   7, 2013, at 9:00 a.m.
 2        Attorney Dwight Samuel was just appointed last week to
 3   represent Dishan Perera in this matter.       He is in the process of
 4   reviewing the discovery in this case which stems from a lengthy
 5   wiretap investigation.     In addition, continuing investigation is
 6   occurring on behalf of other defendants related to the extent of
 7   their participation in the conspiracy alleged in the case.             This
 8   investigation impacts the potential sentencing guidelines
 9   applicable to each of the alleged participants.         Given the
10   voluminous discovery, including telephone calls intercepted
11   during the course of three successive rounds of wiretaps, counsel
12   requires additional preparation time.       The parties therefore
13   request to continue the status conference to March 7, 2013.
14        For the above-stated reasons, the parties stipulate that
15   time be excluded under 18 U.S.C. § 3161(h)(7)(B)(iv); Local Code
16   T4 (reasonable time to prepare and continuity of counsel).
17   Defense counsel have authorized Assistant U.S. Attorney Todd D.
18   Leras to sign this stipulation on their behalf.
19
20   DATED: January 29, 2013           By: /s/ Todd D. Leras
                                            TODD D. LERAS
21                                          Assistant U.S. Attorney
22
23   DATED: January 29, 2013           By: /s/ Todd D. Leras for
                                            OLAF HEDBERG
24                                          Attorney for Defendant LEONARD
                                            WOODFORK
25
26   DATED: January 29, 2013           By: /s/ Todd D. Leras for
                                            JOHN VIRGA
27                                          Attorney for Defendant
                                            NAVPREET SINGH
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 1   DATED: January 29, 2013           By: /s/ Todd D. Leras for
                                            CHRISTOPHER HAYDN-MYER
 2                                          Attorney for Defendant
                                            LOVEDEEP SIDHU
 3
 4   DATED: January 29, 2013           By: /s/ Todd D. Leras for
                                            MARK REICHEL
 5                                          Attorney for Defendant
                                            NAVJOT SINGH
 6
     DATED: January 29, 2013           By: /s/ Todd D. Leras for
 7                                          DAN KOUKOL
                                            Attorney for Defendant
 8                                          JASON CAVILEER
 9
     DATED: January 29, 2013           By: /s/ Todd D. Leras for
10                                          CHRISTOPHER COSCA
                                            Attorney for Defendant
11                                          RAMIRO GARCIA
12
     DATED: January 29, 2013           By: /s/ Todd D. Leras for
13                                          DWIGHT SAMUEL
                                            Attorney for Defendant
14                                          DISHAN PERERA
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 1        IT IS HEREBY ORDERED:
 2        1.   A status conference in this matter is set for March 7,
 3   2013, at 9:00 a.m.;
 4        2.   Based on the stipulation of the parties, the Court
 5   finds that the ends of justice outweigh the best interest of the
 6   public and Defendant in a speedy trial.       Accordingly, time under
 7   the Speedy Trial Act shall be excluded under 18 U.S.C.
 8   § 3161(h)(7)(B)(iv) and Local Code T4 (reasonable time to
 9   prepare) up to and including March 7, 2013.
10        IT IS SO ORDERED.
11
12   Dated: February 1, 2013
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15                             _____________________________________________
                               MORRISON C. ENGLAND, JR., CHIEF JUDGE
16                             UNITED STATES DISTRICT JUDGE
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